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AO 199A (Rev. 06/19) Order Setting Conditions of Release
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                                                                                      4                                     4   Pages



                                      UNITED STATES DISTRICT COURT
                                                                      for the
                                                           Eastern   District of   California


                    United States of America                              )
                               v.                                         )
                                                                          )        Case No.         1:22-CR-00282-JLT-SKO
                          STEVE GOMEZ                                     )
                               Defendant                                  )

                                       ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant’s release is subject to these conditions:

(1) The defendant must not violate federal, state, or local law while on release.

(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 34 U.S.C. § 40702.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
    any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
    the court may impose.

      The defendant must appear at:              U.S. DISTRICT COURT, EASTERN DISTRICT OF CALIFORNIA
                                                                                            Place
      2500 TULARE STREET, SUITE 1501, FRESNO CALIFORNIA, 93721 - COURTROOM 8

      on                                                              1/18/2023, 1:00 PM
                                                                         Date and Time

      If blank, defendant will be notified of next appearance.

(5)   The defendant must sign an Appearance Bond, if ordered.
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                           (frcs-001) Addilional Condirions of ReleaseDocument      31       Filed 11/08/22 Page 2 of 4Page 2 of                    4 Pages
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                                                 ADDITIONAL CONDITIONS OF RELEASE
Upon finding thal release by one of the above methods will not by itself reasonably assure the appcarnnce of the defendant and the safety of other
persons and the community, it is FURTHER ORDERI\D that the release orthe defendant is subject to the conditions marked below:

0     (6)         The defendant is placed in the custody of:
                        Name of person or organization     Elizabeth Gomez
            who agrees (a) to supervise rhe defendnm in accordance with all condit,i ons of release, (b) to use e,•ery effort to assure the appearance of the
            defendant at all scheduled court proceedings, and (c) to notify the court 11nmed1ately 1n the e,,cnt the defendant violates any conditions of
            release or disappcrs.,         :/lib-·)�
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      (7)         The defendant must:
      0           (a)   report on a regular ba1is 10 the following agency:
                        Pretrial Services and comply with their rules and regulations;
                 (b) report in person to the Pretrial Services Agency in Fresno immediately following your release from custody;
                 (c) cooperate in the collection of a DNA sample;
                 (d) restrict your travel to Eastern District of California unless otherwise approved in advance by the pretrial services
                        officer;
      0          (e) not apply for or obtain a passport or any other travel documents during the pendency of this case;
      0          (f) not possess, have in your residence, or have access to a tireann/ammunition, destructive device, or other
                        dangerous weapon; additionally, you must provide written proof of divestment of all firearms/ammunition
                        currently under your control;
      0          (g) abstain from the use of any alcohol or any use of a narcotic drug or other conn·olled substance without a
                        prescription by a licensed medical practitioner; and you must notify Pren·ial Services immediately of any
                        prescribed medication(s). However, medicinal marijuana prescribed and/or recommended may not be used;
                 (h) submit to drug and/or alcohol testing as approved by the pretrial services oflicer. You must pay all or part of the
                        costs of the testing services based upon your ability 10 pay, as detem1ined by the pretrial services officer;
     0           (i) not associate or have any contact with co-defendants unless in the presence of counsel or otherwise approved in
                        advance by the preirial services officer;
                 (j) report any contact with law enforcement to your pretrial services officer within 24 hours;
                 (k) participate in the substance abuse n·eatment program at WellSpace Health inpatient facility, and comply with all
                       the rules and regulations of the program. You must remain at the inpatient facility until released by the pretrial
                       services officer;
                     a. A responsible party, approved by Pretrial Services, must escort you to all required court hearings and escort
                       you back to the inpatient facility upon completion of the hearing;
                 (I) reside at an address approved by Pretrial Services and you must not change your residence or absent yourscl f
                        from this residence for more than 24 hours without the prior approval of the pretrial services officer;
     0           (m) participate in a program of medical or psychiatric treatment, including treatment for drug or alcohol dependency,
                        as approved by the pren·ial services officer. You must pay all or part of the costs of the counseling services based
                       upon your ability to pay, as determined by the pretrial services officer;
                 (n) seek and/or maintain employment and provide proof of same as requested by your pretrial services officer;
                 (o) not use or possess any identification, mail matter, access device or any identification-related material other than in
                       your own legal or true name;
                 (p)   not   open any bank accounts, lines of credit, or credit card accounts, unless approved in advance t,y pretrial
                       services; IJ
                 (q) pm1icipate in the following Location Monitoring program component and abide by all the requirements of the
                       program, which will include having a location monitoring unit installed in your residence and a radio frequency
                       transmitter device attached to your person. You must comply with all instructions for the use and operation of said
                       devices as given to you by the Pretrial Services Agency and employees of the monitoring company. You must pay
                       all or part of the costs of the program ba5ed upon your ability to pay as determined by the pretrial services officer:

                  L   Curfew. You are restricted to your residence every day from 8:00 pm to 6:00 am, or as adjusted by the Pretrial
                      Services office or supervising officer, for medical, religious services, employment or court-. ordercd obligations;
                 (r) participate in the Better Choices court prngram and comply with all the rules and regulations of the. program.
                    You must remain in the prngram until released by a pretrial services officer. In accordance with this
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    Nov 4, 2022
                                           Stanley A. Boone-United States Magistrate Judge
